                                           Entered on Docket
                                           December 30, 2021
                                           EDWARD J. EMMONS, CLERK
                                           U.S. BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF CALIFORNIA


                                            Signed and Filed: December 30, 2021
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 4                                       __________________________________________
                                         HANNAH L. BLUMENSTIEL
 5                                       U.S. Bankruptcy Judge

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 7                           UNITED STATES BANKRUPTCY COURT
 8                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9   In re:                                    ) Case No. 20-30242 HLB
                                               )
10   ANTHONY SCOTT LEVANDOWSKI,                ) Chapter 11
                                               )
11                       Debtor.               )
                                               )
12   ANTHONY SCOTT LEVANDOWSKI,                )
                                               ) Adv. Proc. No. 20-3050 HLB
13                       Plaintiff,            )
     v.                                        )
14                                             )
     UBER TECHNOLOGIES, INC.,                  )
15                                             )
                         Defendant.            )
16                                             )
17                                 ORDER SHORTENING TIME
18           This case comes before the court on an (ex parte)
19   Application for Order Shortening Time filed by Uber Technologies,
20   Inc.1     The Application requests an expedited hearing and briefing
21   schedule on Uber’s not-yet-filed motion to modify2 the court’s
22   December 21, 2021 scheduling order.3
23           By way of the Motion to Modify, Uber will seek modification
24   of the Scheduling Order to permit live direct expert testimony,
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26   1   Dkt. 380 (the “Application”).
27   2   See Ex. A to the Application (the “Motion to Modify”).
28   3   Dkt. 376 (the “Scheduling Order”).



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 1   rather than providing for the introduction of such testimony via
 2   declaration.    The court finds and concludes that Uber has
 3   advanced good cause in support of the Application, and ORDERS as
 4   follows:
 5        1.     The Application is hereby GRANTED.
 6        2.     Uber shall file and serve the Motion to Modify no later
 7   than January 3, 2022.
 8        3.     Opposition to the Motion to Modify must be filed and
 9   served no later than 12:00 p.m. PST on January 7, 2022.
10        4.     If opposition to the Motion to Modify is filed, any
11   reply must be filed and served no later than 12:00 p.m. PST on
12   January 10, 2022.
13        5.     The Motion to Modify, as well as any opposition and
14   reply, must comply with B.L.R. 9013-1, other than that Uber need
15   not file or serve a notice of hearing.             This order shall serve as
16   notice of the hearing on the Motion to Modify.
17        6.     The court will convene a hearing on the Motion to
18   Modify on January 12, 2021 at 1:00 p.m. PST.               This hearing will
19   convene via Zoom.
20        The court encourages all parties to consult the court’s
21   website for information about court operations during the COVID-
22   19 pandemic.    The court’s website also offers information
23   explaining how to arrange an appearance at a video hearing.                    If
24   you have questions concerning court operations or how to
25   participate in a video hearing, you can contact the court by
26   calling 888-821-7606 or by using the Live Chat feature on the
27   court’s website.
28                                 **END OF ORDER**



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                             Court Service List
[None]




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